          Case 2:24-cv-00782-cr Document 31 Filed 08/30/24 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF VERMONT


SCOTT TRAUDT,                                  )
                    Plaintiff,                 )
                                               )
                    v.                         )      Case No. 2:24-cv-782
                                               )
ARI RUBINSTEIN,                                )
GTS SECURITIES LLC,                            )
GTS EQUITY PARTNERS LLC,                       )
GTS EXECUTION SERVICES LLC,                    )
CHARLES W. SCHWAB AND CO. INC.,                )
SCHWAB HOLDINGS, INC.,                         )
FINANCIAL INDUSTRY REGULATORY                  )
AUTHORITY,                                     )
               Defendants,                     )
                                               )
GARY GENSLER,                                  )
US SECURITIES AND EXCHANGE                     )
COMMISSION,                                    )
               Respondent                      )
                                               )

   CHARLES SCHWAB & CO., INC. AND SCHWAB HOLDINGS, INC.
OPPOSITION TO PLAINTIFF’S MOTION FOR A PRESERVATION ORDER

      Defendants Charles Schwab & Co., Inc. and Schwab Holdings, Inc.

(collectively, “Schwab”) submit this opposition to plaintiff Scott Traudt’s (“Plaintiff”)

Motion for a Preservation Order (Dkt. No. 13) (“Motion”). It is unclear whether

Plaintiff intends his Motion to apply to Schwab. To the extent that Plaintiff does,

Schwab opposes the Motion and joins defendant Financial Industry Regulatory

Authority’s (“FINRA”) arguments as advanced in Section III of FINRA’s opposition to

the Motion that Plaintiff has not met his burden to obtain such an order. See Dkt.

No. 29 at 5–13. Additionally, for the reasons stated in its Motion to Stay in Favor of




                                           1
         Case 2:24-cv-00782-cr Document 31 Filed 08/30/24 Page 2 of 3




Arbitration, incorporated herein by reference, Schwab opposes the Motion on the

grounds (1) that Mr. Traudt agreed to pursue any relief against Schwab (including

any relief in the nature of discovery) in arbitration and (2) that the Federal

Arbitration Act, 9 U.S.C. § 3, provides for a stay of proceedings “upon any issue

referable to arbitration under an agreement in writing for such arbitration.” See Dkt.

No. 8 at 5–9



       DATED at Burlington, Vermont, this 30th day of August 2024.


                              By:    /s/ Justin B. Barnard
                                     Justin B. Barnard, Esq.
                                     Anne B. Rosenblum, Esq.
                                     DINSE P.C.
                                     209 Battery Street
                                     Burlington, VT 05401
                                     802-864-5751
                                     jbarnard@dinse.com
                                     arosenblum@dinse.com

                                     Jeff Goldman, Esq. (admitted pro hac vice)
                                     Felipe Escobedo, Esq. (admitted pro hac vice)
                                     MORGAN, LEWIS & BOCKIUS LLP
                                     One Federal Street
                                     Boston, MA 02110
                                     Tel: (617) 341-7700
                                     jeff.goldman@morganlewis.com
                                     felipe.escobedo@morganlewis.com

                                     Counsel for Charles Schwab & Co., Inc. and
                                     Schwab Holdings, Inc.




                                          2
          Case 2:24-cv-00782-cr Document 31 Filed 08/30/24 Page 3 of 3




                           CERTIFICATE OF SERVICE

      I hereby certify that on August 30, 2024, the foregoing Opposition to

Plaintiff’s Motion For A Preservation Order is being filed through the CM/ECF

system and that a copy of the same will be sent electronically to all registered

participants. A copy of the above-referenced document will also be sent to the Plaintiff

at the following mailing address and email address:


      Scott Traudt
      191 Kibling Hill Road
      Strafford, VT 05072
      sct545@proton.me



                                        /s/Anne Rosenblum
                                        Justin B. Barnard, Esq.
                                        Anne B. Rosenblum, Esq.
                                        DINSE P.C.
                                        209 Battery Street
                                        Burlington, VT 05401
                                        802-864-5751
                                        jbarnard@dinse.com
                                        arosenblum@dinse.com

                                        Jeff Goldman, Esq. (admitted pro hac vice)
                                        Felipe Escobedo, Esq. (admitted pro hac vice)
                                        MORGAN, LEWIS & BOCKIUS LLP
                                        One Federal Street
                                        Boston, MA 02110
                                        Tel: (617) 341-7700
                                        jeff.goldman@morganlewis.com
                                        felipe.escobedo@morganlewis.com

                                      Counsel for Charles Schwab & Co., Inc. and
                                      Schwab Holdings, Inc.




                                           3
